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                                                                                     3:12 pm, Sep 06 2022
                       IN THE UNITED STATES DISTRICT COURT                           AT BALTIMORE
                          FOR THE DISTRICT OF MARYLAND                               CLERK, U.S. DISTRICT COURT
                                                                                     DISTRICT OF MARYLAND
      UNITED STATES OF AMERICA                                                       BY ______________Deputy
                                                                 22-2526 BPG
                            v.                     Case No. ____________________

               JUSTIN KUCHTA,                      UNDER SEAL

                   Defendant
                            GOVERNMENT’S MOTION TO SEAL

       The United States of America, by and through undersigned counsel, hereby moves this

Honorable Court for an Order sealing the Complaint, Arrest Warrant, and Affidavit in support

thereof, together with this Motion in the above-referenced matter:

       2.      The Affidavit submitted in support of the above-referenced Application contains

information regarding an ongoing investigation relative to a violation of 18 U.S.C. § 875(c)

(Interstate Communication Containing a Threat to Injure).

       3.      In order to justify sealing the &RPSODLQW $UUHVW :DUUDQW DQG $IILGDYLW, the

Government must demonstrate that:(1) there is a compelling Government interest requiring

materials to be kept under seal and (2) there is no less restrictive means, such as redaction,

available. In re Search Warrants Issued on April 26, 2004, 353 F. Supp. 2d 584 (D. Md. 2004).

       4.      Disclosure of the Application at this time could seriously jeopardize the

investigation in all likelihood by, among other things, causing the potential target—who LV

unaware of the federal investigation—to flee or take steps to destroy or conceal evidence, which

would adversely affect the outcome of the investigation.

       5.      The procedures for sealing are set forth in Baltimore Sun Co. v. Goetz, 886 F.2d

60 (4th Cir. 1989). “The judicial officer may explicitly adopt the facts that the government

presents to justify the sealing.” Id. at 65. This motion and the Court’s reasons for sealing should
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